         Case 1:21-cr-00003-RCL Document 102 Filed 11/26/21 Page 1 of 2




                              UNITED STATES DISTRICT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    )
                                            )
v.                                          )       Case No. 21-cr-003 (RCL)
                                            )
JACOB CHANSLEY,                             )
                                            )
       Defendant.                           )



                     DEFENDANT’S MOTION TO ALLOW
           THE UNDERSIGNED ATTORNEY TO PARTICIPATE VIA ZOOM

       Counsel for Defendant, Jacob Chansley, John Pierce, respectfully submits this motion in

response to the Court’s Order on November 24, 2021. The undersigned requests to participate by

Zoom for the motion hearing, scheduled for November 29, 2021, at 2:00 pm.

       As grounds for the motion, the undersigned attorney lives in Los Angeles California.

       Should the Court deny Defendant’s motion, the undersigned attorney would request to be

able to call into the motion hearing and be on stand-by should the Court have any questions for

the undersigned attorney, with another California Licensed Attorney in the firm being present.

Date: November 26, 2021                             Respectfully Submitted,



                                            John M. Pierce
                                            355 S. Grand Avenue, 44th Floor
                                            Los Angeles, CA 90071
                                            Tel: (213) 400-0725
                                            Email: jpierce@piercebainbridge.com

                                            Attorney for Defendant Jacob Chansley




                                                1
          Case 1:21-cr-00003-RCL Document 102 Filed 11/26/21 Page 2 of 2




                               CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, November 26, 2021, I caused a copy of

the foregoing document to be served on all counsel through the Court’s CM/ECF case filing

system.



                                                  /s/ John M. Pierce
                                            John M. Pierce




                                               1
